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UNITED STATES DISTRICT COURT                                EASTERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA                       '
                                               '
                                               '
v.                                             '             NO. 1:22-CR-15
                                               '
                                               '
JASON BRANDON CHAMBLISS                        '

                   ORDER ADOPTING THE MAGISTRATE JUDGE’S
                       REPORT AND RECOMMENDATION

       The court referred a petition alleging violations of supervised release conditions to the

Honorable Zack Hawthorn, United States Magistrate Judge, at Beaumont, Texas, for

consideration pursuant to applicable laws and orders of this court. The court has received and

considered the Report of the United States Magistrate Judge filed pursuant to such order, along

with the record, pleadings and all available evidence.

       At the close of the revocation hearing, U.S. Magistrate Judge Zack Hawthorn

recommended:

1.     finding the Defendant violated the second allegation in the petition that he failed to
       follow a standard condition of release;

2.     revoking the Defendant’s supervised release pursuant to 18 U.S.C. § 3583; and

3.     sentencing the defendant to a term of 15 months’ imprisonment to be served at the
       Federal Correctional Institution in Beaumont, Texas, if the Bureau of Prisons can
       accommodate such request, with no supervised release to follow.

       At the close of the revocation hearing, the Defendant, defense counsel and counsel for

the Government each signed a standard form waiving their right to object to the proposed

findings and recommendations contained in the magistrate judge’s report, consenting to

revocation of supervised release and imposition of the sentence recommended. The Defendant
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also waived his right to be present with counsel and to speak at sentencing before the court

imposes the recommended sentence.

       Accordingly, the findings of fact and conclusions of law of the magistrate judge are

correct and the report of the magistrate judge is ADOPTED. It is therefore

       ORDERED and ADJUDGED that the petition is GRANTED and Chambliss’s

supervised release is REVOKED.

       Judgment and commitment will be entered separately, in accordance with the magistrate

judge’s recommendations.

       SIGNED at Beaumont, Texas, this 26th day of March, 2025.




                                        ________________________________________
                                                    MARCIA A. CRONE
                                             UNITED STATES DISTRICT JUDGE




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